
Deaderick, J.,
delivered the opinion of the Court.
Suit was brought in the Circuit Court of White County, upon a note of defendants to plaintiff j executed 4th of April, 1863, and payable one day after date, “in good, current State Bank notes.”
The Court below charged the jury that “good, current bank notes,” were bank notes “ which circulate currently as money, and which, in the absence, of proof *618to the contrary, are presumed to be of value equal to money, but the defendants may introduce proof to show that they are of less value.” In this we think there is no error. The instructions of the Court are in substantial conformity to the repeated holdings of this Court.
Proof was introduced to show the relative value of “good, current State Bank notes,” gold and silver, and United States Treasury notes, commonly called “greenbacks.”
The Circuit Judge further instructed the jury that the plaintiff was only entitled to recover the value of “good, current bank notes” at the time the note fell due, and that gold and silver is the standard to be governed by in fixing the value of the bank notes.”
' So much of the foregoing instruction as required the jury to measure the value of the bank notes by the gold or silver standard, is erroneous. The note was executed after the passage of the Act of Congress making United States Treasury notes a legal tender. Judgments upon such notes are payable in such Treasury notes, and the plaintiff in this case would be bound to receive them in satisfaction of his judgment. The standard of value thereof should be the currency or money which the plaintiff would be bound to receive in satisfaction of his judgment.
Let the judgment be reversed, and remanded for a new trial.
